934 F.2d 1386
    UNITED STATES of America, Plaintiff-Appellee,v.Brian K. REED, Defendant-Appellant.
    No. 90-3130.
    United States Court of Appeals,Sixth Circuit.
    Decided April 16, 1991.*
    
      Gary L. Spartis, Bradley D. Barbin, Office of the U.S. Atty., Columbus, Ohio, for U.S.
      Richard A. Cline, Columbus, Ohio, for Rebecca Dumas, defendant-appellant.
      William G. Halgas, Columbus, Ohio, for Brian Keith Reed.
      Rebecca Dumas, pro se.
      Before KENNEDY and MILBURN, Circuit Judges;  and CELEBREZZE, Senior Circuit Judge.
      ORDER
      KENNEDY, Circuit Judge.
    
    
      1
      Having considered the government's petition for rehearing in the above-styled case, 921 F.2d 650, along with the defendant's response, the motion is granted.  Accordingly, the opinion issued in the above-styled case is hereby modified to delete the last seven lines of the third full paragraph on page 652 and the whole following paragraph which continues on page 652, and substituting:  "We need not consider this contention because the government did not ask the District Court to depart downward on the weapons conviction.  Thus it cannot be claimed that the District Court erred in not so departing."
    
    
      
        *
         Rehearing of 921 F.2d 650
      
    
    